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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0561V
                                    Filed: November 3, 2017
                                         UNPUBLISHED


    LORIN T. PRUETT,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Table Injury; Influenza (Flu) Vaccine;
                                                             Shoulder Injury Related to Vaccine
    SECRETARY OF HEALTH AND                                  Administration (SIRVA)
    HUMAN SERVICES,

                       Respondent.


Renee J. Gentry, Vaccine Injury Clinic, George Washington Univ. Law School,
Washington, DC, for petitioner.
Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
        On April 24, 2017, Lorin T. Pruett (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that he suffered from a left shoulder injury
related to vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine he
received on October 20, 2015. Petition at 5. The case was assigned to the Special
Processing Unit of the Office of Special Masters.
       On November 2, 2017, respondent filed his Rule 4(c) report in which he
concedes that petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, respondent states that “petitioner’s alleged injury is

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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consistent with SIRVA of the left arm, and that it meets the requirements of a Table
injury for SIRVA stemming from the flu vaccination on October 20, 2015.” Id. at 4.
Respondent further agrees that no other causes for petitioner’s left shoulder injury were
identified and the records show that he suffered the sequela of this injury for more than
six months. Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.
IT IS SO ORDERED.
                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master
